            Case 2:14-cv-02237-JPO Document 1 Filed 05/22/14 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

TIMOTHY HAGER                                      )
                                                   )
       Plaintiff,                                  )
                                                   )     Civil Action No. 14-2237
v.                                                 )
                                                   )
BNSF RAILWAY COMPANY                               )
                                                   )
       Defendant.                                  )

                                          COMPLAINT

       For his cause of action against defendant BNSF Railway Company, plaintiff states and

alleges as follows:

       1.      This action is based upon and brought under the Federal Employers’ Liability

Act, 45 U.S.C. § 51, et sequitur.

       2.      Plaintiff Timothy Hager resides at 21725 West 50th Street, Shawnee, Johnson

County, Kansas.

       3.      Defendant BNSF Railway Company (“BNSF”) is a Delaware corporation with its

principle place of business at 2650 Lou Menk Drive, Forth Worth, Texas 76131.

       4.      Defendant BNSF Railway Company (“BNSF”) is a Delaware corporation

registered to do business in the state of Kansas, and may be served at the address of its registered

agent, The Corporation Company, 112 SW 7th Street, Suite 3C, Topeka, KS 66603.

       5.      Defendant is, and was at all times relevant herein, a corporation engaged in the

operation of a system of railways as a common public carrier of freight for hire between the

various states of the United States and engaged in interstate commerce by railroad.
            Case 2:14-cv-02237-JPO Document 1 Filed 05/22/14 Page 2 of 5




       6.       At all times relevant to the allegations herein, BNSF maintained a fully staffed

and operational office in the state of Kansas, located at 4515 Kansas Avenue, Kansas City,

Kansas 66106.

       7.       Plaintiff's cause of action arose in the state of Kansas.

       8.       This Court has personal jurisdiction over defendant by reason of defendant’s

residence and contacts within this judicial district, and has subject manner jurisdiction pursuant

to 45 U.S.C. § 56.

       9.       Venue before this Court is proper in the District of Kansas pursuant to 28 U.S.C.

1391(b) and 1391(c).

       10.      On or about June 1, 2011, and at all times relevant hereto, plaintiff was employed

by and engaged in interstate commerce with defendant BNSF. Plaintiff’s duties were in

furtherance of interstate commerce and directly and substantially affected such commerce.

       11.      Plaintiff’s injury occurred on June 1, 2011, while plaintiff was employed by and

acting in the course and scope of his duties as an engineer for defendant BNSF.

       12.      On June 1, 2011 during the course of plaintiff’s employment as an engineer, he

was walking near the west end of the depot in BNSF’s Wellington Yard.

       13.      Plaintiff's injury occurred while he was walking near the west end of the depot in

BNSF's Wellington Yard.

       14.      As plaintiff stepped from a curb to an asphalt surface, the asphalt gave way

underneath his left foot, his left ankle rolled, causing him to fall and hit his right elbow. As a

result, plaintiff sustained severe, painful and disabling injuries hereinafter described.

       15.      Plaintiff’s aforesaid injuries were caused, in whole or in part, by the negligence of

defendant BNSF in the following respects, to wit:



                                                   2
          Case 2:14-cv-02237-JPO Document 1 Filed 05/22/14 Page 3 of 5




               (a)      Defendant negligently failed to provide plaintiff with a reasonably

       safe place and conditions for work in the following respects:

                       i.       Defendant failed to inspect and maintain walkways and

                                walking surfaces in plaintiff’s work area;

                      ii.       Defendant failed to follow the accepted practices of the rail

                                industry for the construction and maintenance of the

                                walkways and walking surfaces in plaintiff’s work area;

                     iii.       Defendant failed to take any corrective action when

                                complaints were made regarding the condition of the

                                walkways and walking surfaces in plaintiff’s work area

                                prior to plaintiff’s injury;

               (b)      Defendant negligently failed to take reasonably adequate

       precautionary steps to protect plaintiff from reasonably foreseeable danger;

               (c)      Defendant negligently failed to warn plaintiff of the unsafe

       conditions that existed in the area plaintiff was required to work; and

               (d)      Any other negligent acts or omissions which may be discovered

       during the prosecution of this action.

       16.     Defendant knew or by the exercise of reasonable care, should have known, that

injury to employees of defendant, including plaintiff, was a foreseeable result of the negligent

acts and omissions set forth in Paragraph 15 herein.

       17.     As a direct and proximate result of the acts and omissions alleged herein, plaintiff

suffered the following severe, permanent, and disabling injuries:

               (a)      Injury to left ankle;



                                                    3
           Case 2:14-cv-02237-JPO Document 1 Filed 05/22/14 Page 4 of 5




                   (b)    Injury to right elbow;

                   (c)    Injury to left lower extremity;

                   (d)    Injury to left hip; and

                   (e)    Injury to low back.

        18.        As a direct and proximate result of the acts and omissions alleged herein, plaintiff

has undergone extensive medical treatment, and has incurred damages, including but not limited

to the following:

                   (a)    Past wage and benefit loss;

                   (b)    Future loss of wage- and benefit-earning capacity;

                   (c)    Past and future medical expenses

                   (d)    Past and future loss of household services;

                   (e)    Physical pain;

                   (f)    Emotional distress and suffering;

                   (g)    Reduced quality of life and loss of enjoyment of its pleasures.

        WHEREFORE, plaintiff prays that he be awarded general and special damages in excess

of $75,000 to compensate him for damages sustained as a result of defendant BNSF Railway

Company's negligence, for attorneys' fees and costs expended herein, for prejudgment and post-

judgment interest, and for any other relief, both special and general to which plaintiff may be

justly entitled.

        Plaintiff hereby demands a trial by jury. Pursuant to Local Rule 40.2, plaintiff hereby

requests that the trial of this matter be held in Kansas City, Kansas.




                                                    4
Case 2:14-cv-02237-JPO Document 1 Filed 05/22/14 Page 5 of 5




                                 Respectfully submitted,

                                 HOLTSCLAW FIRM


                                 /s/ Rick D. Holtsclaw
                                 Rick D. Holtsclaw, KS #70662
                                 2029 Wyandotte, Suite 100
                                 Kansas City, Missouri 64108
                                 Telephone: (816) 221-2555
                                 Facsimile: (816) 221-2508
                                 rick@holtsclawfirm.com

                                 ATTORNEY FOR PLAINTIFF




                             5
